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     Attorney for Defendant
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 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                     )       No. 2:13-cr-078 MCE
11                                                 )
                                                   )       STIPULATION AND
            Plaintiff,                             )       ORDER CONTINUING STATUS
12
                                                   )       CONFERENCE
13   v.                                            )
                                                   )
14   LITTANAVONE KEOPADUBSY, et al                 )       Date: August 28, 2014
                                                   )       Time: 9:00 a.m.
15                                                 )       Judge: Honorable Morrison C. England, Jr.
                                                   )
16
            Defendants.                            )
                                                   )
17                                                 )

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19          IT IS HEREBY stipulated by and between the parties hereto through their respective

20   counsel, undersigned hereto, that the status conference scheduled for July 24, 2014, be re-

21   calendared for August 28, 2014 at 9:00 a.m.

22          Defense counsel continues to investigate the case and is engaged in negotiations to

23   resolve the matter with the United States.

24          Accordingly, all counsel and defendant agree that time under the Speedy Trial Act from

25   the date this stipulation is lodged, through August 28, 2014 should be excluded in computing

26   the time within which trial must commence under the Speedy Trial Act, pursuant to Title 18

27   U.S.C. Section 3161(h)(7)(B) (iv) and Local Code T4 in that the granting of the continuance

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                                                       1
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 1   serves the ends of justice and outweighs the best interests of the public and the defendant in a
 2   speedy trial.
 3
     Dated: July 18, 2014                                       /s/ MARK J. REICHEL
 4                                                              MARK J. REICHEL
                                                                Attorney for Defendant
 5

 6
     Dated: July 18, 2014                                       BENJAMIN WAGNER
 7                                                              United States Attorney

 8                                                       by:    /s/ MARK J. REICHEL for
 9
                                                                PAUL HEMESETH
                                                                Assistant U.S. Attorney
10                                                              Attorney for Plaintiff
11                                              ORDER

12          For the reasons set forth above, the Court finds that there is GOOD CAUSE for the
13   continuance and the exclusion of time, and that the ends of justice served by this continuance
14   outweigh the best interests of the public and the defendant in a speedy trial. Time is excluded
15   pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4.
16
            IT IS SO ORDERED.
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     Dated: July 22, 2014
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